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February 20, 2019

VIA ECF

Honorable J. Paul Oetken
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

          Re:        Silvercreek Management, Inc. et al. v. Citigroup, Inc., et al.
                     Case No. 02-CV-08881-JPO

Dear Judge Oetken:

        We write on behalf of Defendant Jeffrey K. Skilling in response to the Court’s order,
dated February 13, 2019. Counsel for Defendant Richard A. Causey informs us that he joins in
this response and agrees with the proposed briefing schedule set forth herein.

         After receiving Silvercreek Plaintiffs’ submission to the Court (which was emailed only
shortly before the filing itself was made), counsel for Mr. Skilling conferred with Plaintiffs’
counsel about Silvercreek’s proposal for a summary judgment schedule. Silvercreek is seeking
to pursue claims against the individual defendants after having settled with its principal targets,
the banks. Although summary judgment appears unlikely, if the Court permits Silvercreek to
proceed in this manner at this late date, Mr. Skilling and Mr. Causey ask only that any briefing
schedule take into account that they and their counsel will need an opportunity to review and
assess the discovery taken from Silvercreek to date. Neither Mr. Skilling nor his counsel, for
example, have participated materially in any discovery during his 12-year incarceration from
2006 through 2018. As a result, in order to have a meaningful opportunity to respond to a
summary judgment motion, the individual defendants will need copies of all discovery provided
to date by Silvercreek (including written discovery responses and depositions of Silvercreek-
affiliated witnesses) and adequate time to review those materials. We have requested such
materials from Silvercreek, but do not yet have a commitment from Silvercreek to provide them
voluntarily.

       In light of above, Mr. Skilling and Mr. Causey propose the following briefing schedule
on motions for summary judgment:

               •     March 15, 2009 – as requested in the Silvercreek Plaintiffs’ February 11, 2019
                     letter, Plaintiffs to file and serve motions for summary judgment on Counts 7 and
                     9, and to dismiss Counts 4, 5, and 10;


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           •   March 29, 2019 – Plaintiffs to provide the individual defendants with complete
               copies of all evidence relied upon in moving for summary judgment (if not
               previously provided with their moving papers), as well as copies of all discovery
               provided to date by Silvercreek in this matter (including written discovery
               responses and depositions of Silvercreek-affiliated witnesses);

           •   June 10, 2019 – individual defendants’ opposition deadline; and

           •   July 12, 2019 – Plaintiffs’ reply deadline.


Defendants anticipate that trial on the remaining claims could be completed in five trial days or
less.


                                                 Respectfully submitted,
                                                  /s/ Jeffrey A. Barker
                                                 of O’MELVENY & MYERS LLP
                                                 Attorneys for Jeffrey K. Skilling


cc:    Counsel of Record (via ECF)




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